                 Case 2:21-cv-01222-MJP Document 19 Filed 11/02/21 Page 1 of 3




 1                                                                  The Honorable Marsha J. Pechman
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12                            UNITED STATES DISTRICT COURT
13                      WESTERN DISTRICT OF WASHINGTON AT SEATTLE
14
15   JOHN BOSHEARS, individually and on                  NO. 2:21-cv-01222-MJP
16   behalf of all others similarly situated,
17                                                       JOINT MOTION AND ORDER TO
18                       Plaintiff,                      EXTEND DEADLINE FOR
19                                                       DEFENDANT TO ANSWER OR
20           v.                                          OTHERWISE RESPOND TO
21                                                       PLAINTIFF’S COMPLAINT
22   PEOPLECONNECT, INC.,
23                                                       NOTE ON MOTION CALENDAR:
24                       Defendant.                      November 1, 2021
25
26
27          PeopleConnect, Inc. (“Defendant”) and John Boshears, on behalf of himself and all others
28
29   similarly situated (“Plaintiff”), by and through their undersigned counsel, respectfully move for an
30
31   extension of time for Defendant to answer or otherwise respond to Plaintiff’s Amended Complaint
32
33   such that Defendant will answer or otherwise respond by December 13, 2021. In support of this
34
35   Motion, the Parties state as follows:
36
37          1.       On Friday, October 29, 2021, Plaintiff’s counsel filed an Amended Complaint
38
39   substituting John Boshears as the named plaintiff in place of Mr. Fry. (ECF No. 17).
40
41          2.       In order to facilitate further investigation and to provide Defendant with adequate
42
43   time to file a responsive pleading, the Parties agreed to give Defendant 45 days to respond to the
44
45   Amended Complaint.

     JOINT MOTION AND ORDER TO EXTEND DEADLINE                       GO RDO N       600 University Street
     FOR DEFENDANT TO ANSWER OR OTHERWISE                               T ILD E N   Suite 2915
     RESPOND TO PLAINTIFF’S COMPLAINT - 1                             T H O M AS    Seattle, WA 98101
     No. 2:21-cv-01222-MJP                                           C O R D E LL   206.467.6477
              Case 2:21-cv-01222-MJP Document 19 Filed 11/02/21 Page 2 of 3




 1          WHEREFORE, for the reasons stated herein, the Parties respectfully request that this
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 3   Court grant this Motion and enter an Order extending the deadline for Defendant to respond to
 4
 5   Plaintiff’s Amended Complaint such that Defendant will answer or otherwise respond by
 6
 7   December 13, 2021.
 8
 9          DATED this 1st day of November, 2021.
10
11    GORDON TILDEN THOMAS &                         TURKE & STRAUSS LLP
12    CORDELL LLP
13                                                   By: s/ Samuel J. Strauss
14    By: s/ Michael Rosenberger                          Samuel J. Strauss
          Michael Rosenberger, WSBA #17730                613 Williamson St., Suite 201
15                                                        Madison, WI 53703
16        Mark Wilner, WSBA #31550
                                                          Chicago, IL 60603
17        Samantha K. Pitsch, WSBA #54190                 608.237.1775
18        600 University Street, 2915                     sam@turkestrauss.com
19        Seattle, Washington 98101
20        Telephone: 206.467.6477                    Benjamin R. Osborn
21        mrosenberger@gordontilden.com              102 Bergen St.
          mwilner@gordontilden.com                   Brooklyn, NY 11201
22                                                   347 645-0464
23        spitsch@gordontilden.com
                                                     ben@benosbornlaw.com
24
25    Brent Caslin, WSBA #36145                      Attorneys for Plaintiff John Boshears
26    JENNER & BLOCK LLP
27    515 S. Flower Street, Suite 3300
28    Los Angeles, California 90071-2246
29    bcaslin@jenner.com
30
31    Debbie L. Berman (pro hac vice)
32    Wade A. Thomson (pro hac vice)
33    JENNER & BLOCK LLP
34    353 North Clark Street
35    Chicago, IL 60654
36    dberman@jenner.com
37    wthomson@jenner.com
38
39    Attorneys for Defendant PeopleConnect, Inc.
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44   \\
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     JOINT MOTION AND ORDER TO EXTEND DEADLINE                    GO RDO N       600 University Street
     FOR DEFENDANT TO ANSWER OR OTHERWISE                            T ILD E N   Suite 2915
     RESPOND TO PLAINTIFF’S COMPLAINT - 2                          T H O M AS    Seattle, WA 98101
     No. 2:21-cv-01222-MJP                                        C O R D E LL   206.467.6477
            Case 2:21-cv-01222-MJP Document 19 Filed 11/02/21 Page 3 of 3




 1         IT IS SO ORDERED.
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           DATED: November 2, 2021               A
                                                 Marsha J. Pechman
 7                                               U.S. Senior District Judge
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     JOINT MOTION AND ORDER TO EXTEND DEADLINE             GO RDO N       600 University Street
     FOR DEFENDANT TO ANSWER OR OTHERWISE                     T ILD E N   Suite 2915
     RESPOND TO PLAINTIFF’S COMPLAINT - 3                   T H O M AS    Seattle, WA 98101
     No. 2:21-cv-01222-MJP                                 C O R D E LL   206.467.6477
